Case 2:05-cr-20286-.]PI\/| Document 11 Filed 08/29/05 Page 1 of 3 Page|D 16

IN THE UNI'I`ED STA'I'ES DISTRIC"I` COURT nmsy

 

FOR THE wEsTERN DISTRICT oF TENNESSEE '“_"'~°'°
wEsTERN DIVISION USMB 29 m 613
H+O).W§M,GMD
UNITED STATES oF AMERICA aHv¥/¥D%§HSST&FCTCGH

Plaintiff,
Criminal No.OJ/ ~ 202/0¢1\*11

(30-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Friday, September 23[ 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

This document entered on the docket sheet ln comp!!ance
with Ru|e 55 and/or 32(!:)) FRCrP on ' //

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SO ORDERED this 26th day of August, 2005.

Q,@M>U

 

JO PI-IIPPS McCALLA
ITED STATES DISTRICT JUDGE
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Assistant United States Attorney

 

 

 

 

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C‘oun's for Def'endant( s)

 

ISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CR-20286 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

Michael G. Floyd

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Honorable J on McCalla
US DISTRICT COURT

